
2 N.Y.2d 785 (1956)
The People of the State of New York, Respondent,
v.
Ann Perry, Appellant.
Court of Appeals of the State of New York.
Argued October 16, 1956.
Decided November 30, 1956.
Morris Zuckman for appellant.
George N. Meyl, District Attorney (Philip G. Coffey, Jr., of counsel), for respondent.
Concur: CONWAY, Ch. J., DESMOND, DYE, FULD, FROESSEL, VAN VOORHIS and BURKE, JJ.
Judgments reversed, the information dismissed and the fine remitted upon the ground that the guilt of defendant was not established beyond a reasonable doubt. No opinion.
